






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00404-CR







Ex parte Donald Chachere







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT


NO. GV100461, HONORABLE FRANK W. BRYAN JR., JUDGE PRESIDING







	Donald Chachere is confined while awaiting trial on an indictment for solicitation of
capital murder.  His bail is $700,000.  He petitioned for a writ of habeas corpus, complaining that
the amount of bail is excessive and asking it be reduced or, alternatively, that he be released on
personal bond.  The writ issued and after a hearing, relief was denied.

	Chachere first argues that he must be released under the terms of article 17.151.  Tex.
Code Crim. Proc. Ann. art. 17.151, § 1 (West Supp. 2002).  This statute provides that a person
detained pending trial of a felony accusation must be released, either on personal bond or by
reducing the amount of bail required, if the State is not ready for trial within ninety days after
detention begins.  Id., § 1(1).  

	The record does not establish the date of Chachere's arrest.  We will assume that his
detention began sometime between March 15, 2001, when the arrest warrant was issued, and March
28, when the writ application was filed.  On June 15, the prosecutor told the court that the State was
ready for trial.  Under the circumstances, this was a prima facie showing of the State's readiness
within the prescribed ninety days and shifted to Chachere the burden to show otherwise.  Jones v.
State, 803 S.W.2d 712, 717 (Tex. Crim. App. 1991); Ex parte Brosky, 863 S.W.2d 775, 778 (Tex.
App.--Fort Worth 1993, no pet.).

	Chachere cites two facts as rebutting the State's prima facie showing of readiness. 
First, he notes that he was reindicted on June 8, only one week before the State's announcement. 
The purpose of the reindictment was to correct a typographical error regarding the date of the alleged
offense.  The State may be ready for trial even if the indictment is defective.  Brosky, 863 S.W.2d 
at 778.  Chachere's reindictment did not rebut the prima facie showing of readiness.

	Second, Chachere points out that certain audio recordings of telephone conversations
between himself and an undercover agent of the State were, at the time of the writ hearings, being
"enhanced" because portions were inaudible.  These recordings were thus unavailable for use by the
State at that time and could not immediately be made available to the defense pursuant to discovery. 
The prosecutor told the court, however, that "the tapes that I believe that are necessary [for trial]
have been transcribed."  In any event, the agent was available to testify to these conversations with
Chachere.  See Ex parte Watson, 940 S.W.2d 733, 736 (Tex. App.--Texarkana 1997, no pet.).  That
the defense had not completed discovery did not rebut the State's showing of readiness.

	The record does not demonstrate appellant's entitlement to release pursuant to article
17.151.  Point of error two is overruled.  We turn to Chachere's first point, by which he argues that
the amount of bail is excessive.

	The primary purpose of bail is to secure the presence of the defendant.  Ex parte
Vasquez, 558 S.W.2d 477, 479 (Tex. Crim. App. 1977).  The setting of bail is committed to the
discretion of the trial court or magistrate, but the exercise of this discretion is governed by the
constitution and statutes.  See Tex. Code Crim. Proc. Ann. art. 17.15 (West Supp. 2002).  Bail should
be sufficiently high to give reasonable assurance that the undertaking will be complied with, but the
power to require bail is not to be used so as to make it an instrument of oppression.  Id. art. 17.15(1),
(2).  The nature of the offense and the circumstances under which it was committed are factors to
be considered in setting bail, as is the future safety of the community and the victim of the alleged
offense.  Id. art. 17.15(3), (5).  The defendant's ability to make bail also must be considered, but is
not of itself controlling.  Id. art. 17.15(4); Ex parte Gentry, 615 S.W.2d 228, 231 (Tex. Crim. App.
1981).  In determining the likelihood of the defendant complying with the conditions of bail,
consideration also may be given to such factors as the defendant's ties to the community, cooperation
with the police, and record of appearances in the past.  See Ex parte Williams, 619 S.W.2d 180, 183
(Tex. Crim. App. 1981); Gentry, 615 S.W.2d at 231; Ex parte Parish, 598 S.W.2d 872, 873 (Tex.
Crim. App. 1980); Ex parte Keller, 595 S.W.2d 531, 533 (Tex. Crim. App. 1980).  

	The burden of proof is on the applicant to prove that bail is excessive.  Ex parte
Rubac, 611 S.W.2d 848, 849 (Tex. Crim. App. 1981).  We review the trial court's ruling for an abuse
of discretion.  Id. at 850.

	The State's primary witness was Texas Ranger Salvador Abreo.  According to Abreo,
Chachere contacted Georgetown private detective Beverly McKinney in the fall of 2000 and asked
her if she knew someone willing to kill his former wife, Marla Chachere.  McKinney contacted the
police, and in November 2000 Abreo agreed to pose as the hitman.  At a meeting in December 2000,
McKinney told Chachere she knew someone willing to commit the murder for $3000 and gave him
Abreo's cell phone number.  Chachere called Abreo several times in early January 2001.  Although
Chachere used what Abreo called "coded language," the officer understood Chachere to say that he
wanted his former wife, and perhaps her boyfriend, murdered.  Abreo and Chachere agreed to meet
in Austin on January 13. 

	At the January meeting, Chachere told Abreo he was from Houston and explained that
he was tired of his former wife and of paying child support.  Chachere gave Abreo the names of his
former wife and her boyfriend and described the neighborhood in which they lived in San Antonio. 
He indicated that the best time to commit the murder would be spring break, when Chachere would
have custody of his daughter.  They discussed price, and Chachere said he would pay with his
income tax refund.  Abreo gave Chachere a list of items that he would need, such as photographs and
maps.  It was agreed that they would meet again in about a week. (1)

	Chachere called Abreo several more times.  Although Chachere never indicated a
desire to back out of the deal, the two men never again met in person.  As spring break neared, the
police became concerned that Chachere might have made other arrangements for the killing.  They
moved Marla Chachere to a hotel and procured the warrant for Chachere's arrest.

	Marla Chachere testified that she and her former husband had a "long, nasty divorce"
in 1999.  She said that there had been "physical confrontations" during their marriage, but that the
police had never been called.  She said that she began to fear Chachere after being told by the police
that he was planning to hire a man to kill her.  She also described an incident in which Chachere
gave Houston police information that resulted in her arrest on drug charges that were subsequently
dismissed.  She acknowledged that Chachere had made his child support payments and had complied
with all court orders regarding custody and visitation.

	Chachere's only witness was his brother.  He testified that Chachere is a longtime
resident of Houston, where his parents also live, and has custody of his son from a previous
marriage.  He said Chachere has held the same job for fifteen years, but did not name his employer,
describe the nature of his work, or state his salary.  According to Chachere's brother, Chachere does
not own a home or a vehicle, and has no funds.  His family hired Chachere's attorney and would
have to pay for any bond.  At most, the family could afford a $200,000 bond.


Nature and circumstances of offense.  

	The return of an indictment establishes as a matter of law that there is probable cause
to believe that Chachere is guilty of soliciting capital murder.  Ex parte Plumb, 595 S.W.2d 544, 545
(Tex. Crim. App. 1980); Ex parte Welch, 729 S.W.2d 306, 309 (Tex. App.--Dallas 1987, no pet.). 
Soliciting a capital offense is a first degree felony.  Tex. Pen. Code Ann. § 15.03(d)(1) (West 1994). 
Chachere argues that the evidence at the hearing establishes that he is not guilty of the offense.  This
argument is not persuasive because the State did not necessarily present all its evidence at the writ
hearing.  Chachere's argument also depends on an evaluation of the weight and credibility of the
evidence.  That task is one for the trier of fact at trial.  There is nothing in the record before us that
establishes that Chachere could not be guilty of the offense alleged, or that the likelihood of
conviction is unusually low.


Amount of bail and ability to make bail.

	Appellant refers us to a 1993 opinion reducing pretrial bail in a capital murder case
from $1,000,000 to $75,000.  Ex parte McDonald, 852 S.W.2d 730, 736 (Tex. App.--San Antonio
1993, no pet.).  In that opinion, the court reviewed the reported decisions in capital cases and found
none approving bail exceeding $100,000.  Id. at 733.  McDonald is almost nine years old.  The same
court more recently upheld an order setting pretrial bail in a capital case at $750,000.  Ex parte
Chavfull, 945 S.W.2d 183, 187 (Tex. App.--San Antonio 1997, no pet.).  Ultimately, the appropriate
amount of bail must be determined on a case-by-case basis.  Other opinions are instructive, but there
is no amount of bail that is per se excessive.  We acknowledge, however, that $700,000 is a
particularly high bail, even for a first degree felony.

	Chachere's brother testified that the family could not afford bail in the present
amount.  The record is virtually silent, however, about Chachere's personal ability to make bail. 
Chachere's brother testified that Chachere has no money "that I am aware of."  Chachere was said
to be employed, but his salary was not disclosed.  It was said that Chachere does not own a home,
but the nature of his residence, its cost, and its precise location are not in evidence.  There was
testimony that Chachere does not own a car, but he traveled by car to meetings in Schulenburg and
Austin, and he regularly exchanged custody of his daughter with his former wife in San Antonio. 
The record is silent with respect to financial assets that Chachere might or might not own.  There is
no evidence that Chachere has attempted to borrow money to make bail.


Safety of victim.

	A grand jury has determined that there is credible evidence that Chachere sought to
hire a killer to murder his former wife.  Marla Chachere testified to "physical confrontations" with
Chachere during their marriage.  She also testified that she fears appellant might harm her or her
daughter based on what she has been told by the police regarding the alleged offense.  On the other
hand, Chachere points out that the court is authorized to impose reasonable bond conditions for the
purpose of victim or community safety.  See Tex. Code Crim. Proc. Ann. art. 17.40 (West Supp.
2002).


Other factors.

	There was testimony that Chachere is a longtime resident of Houston, that his parents
and a sister also live there, and that he has custody of a son.  There was also testimony that Chachere
has held the same job for fifteen years, but neither the nature of this employment nor the name of his
employer is in evidence.  There is no evidence that Chachere has a previous criminal record or that
he has ever failed to comply with the conditions of a bond.  Marla Chachere testified that he
complied with court orders with respect to child support and custody.





	Balancing all the relevant facts before us, we conclude that the district court abused
its discretion by refusing to set bail at less than $700,000.  The court's order denying relief is
reversed, and Chachere's bail is ordered reduced to $250,000.



					                                                                                   

					Bea Ann Smith, Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Puryear

Reversed and Remanded; Bail Ordered Set

Filed:   January 25, 2002

Do Not Publish
1.        This meeting, like the December meeting between Chachere and McKinney, was videotaped. 
The videotapes were admitted in evidence at the hearing and viewed by the district court before
ruling.


